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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                     Case No. 18-cv-21897-JEM

  VINCENT PAPA,

                 Plaintiff,

  v.

  GRIECO FORD FORT LAUDERDALE LLC,

                 Defendant.
                                                /

        DEFENDANT GRIECO FORD FORT LAUDERDALE LLC’S ANSWER AND
          AFFIRMATIVE DEFENSES TO THE CLASS-ACTION COMPLAINT

          In accordance with Federal Rules of Civil Procedure 8 and 12, Defendant Grieco Ford

  Fort Lauderdale LLC (Defendant) answers and asserts affirmative defenses to Plaintiff Vincent

  Papa’s (Plaintiff’s) class-action complaint (the complaint).

          1.     Denied, except admitted only that Plaintiff brings this action against Defendant

  under the Telephone Consumer Protection Act (TCPA), 47 U.S.C. § 227.

                                        Nature of the Action

          2.     Admitted that Plaintiff purports to bring this action as a putative class action

  under the TCPA.

          3.     Denied, except admitted only that Defendant is a car dealership.

          4.     Denied, except admitted only that Plaintiff seeks various kinds of relief through

  this action.

                                       Jurisdiction and Venue

          5.     Denied, except admitted only that jurisdiction exists under 28 U.S.C. § 1331.

          6.     Denied, except admitted only that venue is proper under 28 U.S.C. § 1391.
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                                                Parties

         7.      Defendant lacks knowledge or information sufficient to form a belief about the

  truth of the allegations contained in this paragraph.

         8.      Denied, except admitted only that Defendant is a Florida limited liability

  company with its principal address at 1333 N. Federal Highway, Fort Lauderdale, Florida 33304,

  and that Defendant conducts business in the State of Florida.

                                              The TCPA

         9.      The allegations in this paragraph contain solely legal conclusions or recitations of

  law, which are not entitled to the assumption of truth. If a response is required, Defendant denies

  the allegations.

         10.     The allegations in this paragraph contain solely legal conclusions or recitations of

  law, which are not entitled to the assumption of truth. If a response is required, Defendant denies

  the allegations.

         11.     The allegations in this paragraph contain solely legal conclusions or recitations of

  law, which are not entitled to the assumption of truth. If a response is required, Defendant denies

  the allegations.

         12.     The allegations in this paragraph contain solely legal conclusions or recitations of

  law, which are not entitled to the assumption of truth. If a response is required, Defendant denies

  the allegations.

         13.     The allegations in this paragraph contain solely legal conclusions or recitations of

  law, which are not entitled to the assumption of truth. If a response is required, Defendant denies

  the allegations.




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         14.     The allegations in this paragraph contain solely legal conclusions or recitations of

  law, which are not entitled to the assumption of truth. If a response is required, Defendant denies

  the allegations.

         15.     The allegations in this paragraph contain solely legal conclusions or recitations of

  law, which are not entitled to the assumption of truth. If a response is required, Defendant denies

  the allegations.

         16.     The allegations in this paragraph contain solely legal conclusions or recitations of

  law, which are not entitled to the assumption of truth. If a response is required, Defendant denies

  the allegations.

         17.     The allegations in this paragraph contain solely legal conclusions or recitations of

  law, which are not entitled to the assumption of truth. If a response is required, Defendant denies

  the allegations.

         18.     The allegations in this paragraph contain solely legal conclusions or recitations of

  law, which are not entitled to the assumption of truth. If a response is required, Defendant denies

  the allegations.

         19.     The allegations in this paragraph contain solely legal conclusions or recitations of

  law, which are not entitled to the assumption of truth. If a response is required, Defendant denies

  the allegations.

         20.     The allegations in this paragraph contain solely legal conclusions or recitations of

  law, which are not entitled to the assumption of truth. If a response is required, Defendant denies

  the allegations.




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         21.     The allegations in this paragraph contain solely legal conclusions or recitations of

  law, which are not entitled to the assumption of truth. If a response is required, Defendant denies

  the allegations.

         22.     The allegations in this paragraph contain solely legal conclusions or recitations of

  law, which are not entitled to the assumption of truth. If a response is required, Defendant denies

  the allegations.

         23.     The allegations in this paragraph contain solely legal conclusions or recitations of

  law, which are not entitled to the assumption of truth. If a response is required, Defendant denies

  the allegations.

                                                 Facts

         24.     Denied that Defendant sent the text message alleged in this paragraph; otherwise,

  Defendant lacks knowledge or information sufficient to form a belief about the truth of the

  remaining allegations contained in this paragraph.

         25.     Defendant lacks knowledge or information sufficient to form a belief about the

  truth of the allegations contained in this paragraph.

         26.     Denied.

         27.     Denied.

         28.     Denied.

         29.     Defendant lacks knowledge or information sufficient to form a belief about the

  truth of the allegations contained in this paragraph.

         30.     Defendant lacks knowledge or information sufficient to form a belief about the

  truth of the allegations contained in this paragraph.

         31.     Denied.



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         32.     Defendant lacks knowledge or information sufficient to form a belief about the

  truth of the allegations contained in this paragraph.

         33.     Defendant lacks knowledge or information sufficient to form a belief about the

  truth of the allegations contained in this paragraph.

         34.     Denied.

         35.     Denied.

         36.     Denied.

         37.     Defendant lacks knowledge or information sufficient to form a belief about the

  truth of the allegations contained in this paragraph.

         38.     Denied.

         39.     Denied.

                                           Class Allegations

         40.     Defendant admits that Plaintiff purports to bring this action as a putative class

  action under Federal Rule of Civil Procedure 23, but denies that any class should be certified or

  is appropriate. Except as expressly admitted, Defendant denies the remaining allegations in

  paragraph 40 of the complaint.

         41.     Defendant admits that Plaintiff purports to bring this action on behalf of the

  putative classes alleged in paragraph 41, but denies that any class should be certified or is

  appropriate. Except as expressly admitted, Defendant denies the remaining allegations in

  paragraph 41 of the complaint.

         42.     Defendant admits that Plaintiff purports to bring this action as a putative class

  action, but denies that any class should be certified or is appropriate. Except as expressly

  admitted, Defendant denies the remaining allegations in paragraph 42 of the complaint.



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         43.     Defendant admits that Plaintiff purports to bring this action as a putative class

  action, but denies that any class should be certified or is appropriate. Except as expressly

  admitted, Defendant denies the remaining allegations in paragraph 43 of the complaint.

         44.     Defendant admits that Plaintiff purports to bring this action as a putative class

  action, but denies that any class should be certified or is appropriate. Except as expressly

  admitted, Defendant denies the remaining allegations in paragraph 44 of the complaint.

                                Common Questions of Law and Fact

         45.     Defendant admits that Plaintiff purports to bring this action as a putative class

  action, but denies that any class should be certified or is appropriate. Except as expressly

  admitted, Defendant denies the remaining allegations in paragraph 45 of the complaint.

         46.     Defendant admits that Plaintiff purports to bring this action as a putative class

  action, but denies that any class should be certified or is appropriate. Except as expressly

  admitted, Defendant denies the remaining allegations in paragraph 46 of the complaint.

         47.     Defendant admits that Plaintiff purports to bring this action as a putative class

  action, but denies that any class should be certified or is appropriate. Except as expressly

  admitted, Defendant denies the remaining allegations in paragraph 47 of the complaint.

         48.     Defendant admits that Plaintiff purports to bring this action as a putative class

  action, but denies that any class should be certified or is appropriate. Except as expressly

  admitted, Defendant denies the remaining allegations in paragraph 48 of the complaint.

         49.     Defendant admits that Plaintiff purports to bring this action as a putative class

  action, but denies that any class should be certified or is appropriate. Except as expressly

  admitted, Defendant denies the remaining allegations in paragraph 49 of the complaint.




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         50.     Defendant admits that Plaintiff purports to bring this action as a putative class

  action, but denies that any class should be certified or is appropriate. Except as expressly

  admitted, Defendant denies the remaining allegations in paragraph 50 of the complaint.

                        Count I—Violations of the TCPA, 47 U.S.C. § 227(b)

         51.     Defendant repeats and incorporates herein its responses to the allegations set forth

  in paragraphs 1–50.

         52.     The allegations in this paragraph contain solely legal conclusions or recitations of

  law, which are not entitled to the assumption of truth. If a response is required, Defendant denies

  the allegations.

         53.     The allegations in this paragraph contain solely legal conclusions or recitations of

  law, which are not entitled to the assumption of truth. If a response is required, Defendant denies

  the allegations.

         54.     Denied.

         55.     Denied.

         56.     Denied.

         57.     Denied.

         58.     Denied.

         59.     Denied.

         Defendant denies all the allegations in Plaintiff’s wherefore clause.

         Count II—Knowing and/or Willful Violation of the TCPA, 47 U.S.C. § 227(b)

         60.     Defendant repeats and incorporates herein its responses to the allegations set forth

  in paragraphs 1–50.

         61.     Denied.



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          62.     Denied.

          63.     Denied.

          64.     Denied.

          Defendant denies all the allegations in Plaintiff’s wherefore clause.

                                     AFFIRMATIVE DEFENSES

          1.      Plaintiff’s claims, and the putative class members’ claims, are barred because any

  call or text message alleged to have violated the TCPA occurred with prior express consent.

          2.      Plaintiff’s claims, and the putative class members’ claims, are barred because

  Defendant had a good-faith belief that any call or text message alleged to have violated the

  TCPA occurred with prior express consent.

          3.      Plaintiff’s claims, and the putative class members’ claims, are barred or should be

  reduced to the extent that, as applied, the statutory damages of the TCPA violate the Due Process

  Clause of the Fifth or Fourteenth Amendments to the U.S. Constitution.

          4.      Imposing statutory damages against Defendant in a class action would violate the

  excessive-fine restriction of the U.S. Constitution.

          5.      Plaintiff’s claims, and the putative class members’ claims, are barred to the extent

  that they are untimely under any applicable statute of limitations.

          6.      Plaintiff’s claims, and the putative class members’ claims, are barred because

  Defendant has established and implemented, with due care, reasonable practices and procedures

  to effectively prevent TCPA violations.

          7.      Plaintiff’s claims, and the putative class members’ claims, are barred from being

  asserted in this court or as part of a putative class to the extent that they are subject to any

  arbitration clause.



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  Dated: June 22, 2018                                 Respectfully submitted,

                                                       s/Brian W. Toth
                                                       Brian W. Toth
                                                       Florida Bar No. 57708
                                                       brian.toth@hklaw.com
                                                       HOLLAND & KNIGHT LLP
                                                       701 Brickell Avenue, Suite 3300
                                                       Miami, Florida 33131
                                                       Telephone: (305) 374-8500


                                  CERTIFICATE OF SERVICE

         I certify that on June 22, 2018, I filed this document with the Clerk of Court using

  CM/ECF, which will serve this document on all counsel of record.

                                                       s/Brian W. Toth




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